                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

 Oriental Fleet Tanker 02 Limited,               §
                                                 §
       Plaintiff,                                §
                                                 §
 vs.                                             § Civil Action No.: 4:21-cv-00249
                                                 §
 M/V FOLEGANDROS, its engines,                   § In Admiralty, Rule 9(h)
 boilers, tackle, furniture, apparel,            §
 appurtenances, etc, in rem, and                 §
 Folegandros Shipping Corporation, in            §
 personam,                                       §
                                                 §
       Defendants.                               §

                           VERIFIED COMPLAINT IN ADMIRALTY
                          BY ORIENTAL FLEET TANKER 02 LIMITED

       Plaintiff Oriental Fleet Tanker 02 Limited (“Plaintiff”) files this Verified Complaint in

Admiralty pursuant to Rule D of the Supplemental Rules for Admiralty and Maritime Claims

(“Rule D”), and alleges as follows:

                     I.       JURISDICTION, VENUE, AND PARTIES

       1.      This is an admiralty and maritime claim within the meaning of Rule 9(h) of the

Federal Rules of Civil Procedure and Rule D.

       2.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. § 1333, and venue is

proper in this District pursuant to 28 U.S.C. § 1391.

       3.      At all material times, Plaintiff was and is a company organized under the laws of

the British Virgin Islands and having its registered office at Ritter House, Wickhams Cay II, Road

Town, Tortola VG 1110, British Virgin Islands.
        4.      In rem defendant M/V FOLEGANDROS, bearing IMO number 9800568 and

registration number 12612 (together with its engines, boilers, tackle, furniture, apparel,

appurtenances, etc., the “Vessel”), is a crude oil tanker registered in the name of Plaintiff under

the laws and flag of Greece, and is presently in this District or is believed to soon be in this District,

at the Port of Houston, within the jurisdiction of this Honorable Court.

        5.      In personam defendant Folegandros Shipping Corporation (“Defendant”) is a

corporation organized under the laws of the Republic of Liberia and having its registered office at

80 Broad Street, Monrovia, Liberia.

                                  II.        RELEVANT FACTS

        6.      On November 1, 2017, Oriental Fleet International Company Limited, a company

organized under the laws of Hong Kong and having its registered office at 50/F, COSCO Tower,

183 Queen’s Road Central, Hong Kong (“Original Owner”), as owner, and Defendant, as

bareboat charterer, entered into a bareboat charter (the “Original Charter”) pursuant to which

Original Owner bareboat chartered the Vessel to Defendant for a period of one hundred and twenty

(120) months starting on the Delivery Date (as defined therein) under the terms and conditions set

forth therein. A true and complete copy of the Original Charter is attached as Exhibit A hereto.

        7.      On March 12, 2019, Original Owner, as seller, and Plaintiff, as buyer, entered into

a memorandum of agreement (the “MOA”) pursuant to which Original Owner sold to Plaintiff the

Vessel under the terms and conditions set forth therein. A true and complete copy of the MOA is

attached as Exhibit B hereto. The Republic of Greece issued on the same date a certificate of

nationality (the “Certificate”) to certify that Plaintiff then became the 100% owner of the Vessel,

which remained registered in the Greek Registry and permitted to fly the Greek Flag. A true and

complete copy of the Certificate is attached as Exhibit C hereto.




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       8.      Also on March 12, 2019, Original Owner, as original owner, Plaintiff, as

replacement owner, and Defendant, as bareboat charterer, entered into a novation and amendment

agreement (the “Novation Agreement”) pursuant to which (a) the Original Charter was novated

and amended under the terms and conditions set forth therein, (b) Original Owner was released of

its obligations under the Original Charter and agreed that it had no further rights under the Original

Charter, and (c) Plaintiff assumed all rights and obligations of Original Owner under the Original

Charter, as novated and amended by the Novation Agreement (the “Charter”). A true and

complete copy of the Novation Agreement is attached as Exhibit D hereto.

       9.      Also on March 12, 2019, Eletson Holdings Inc., a corporation organized under the

laws of the Republic of Liberia and having its registered office is at 80 Broad Street, Monrovia,

Liberia (“Guarantor A”), as guarantor, and Plaintiff, as owner, entered into a guaranty (the

“Guaranty A”) pursuant to which Guarantor A guaranteed the due payment by Defendant of all

amounts due under the Charter and the punctual performance by Defendant of all of its obligations

under the Charter, under the terms and conditions set forth therein. A true and complete copy of

the Guaranty A is attached as Exhibit E hereto.

       10.     Also on March 12, 2019, Eletson Corporation, a corporation organized under the

laws of the Republic of Liberia and having its registered office is at 80 Broad Street, Monrovia,

Liberia (“Guarantor B”), as guarantor, and Plaintiff, as owner, entered into a guaranty (the

“Guaranty B”) pursuant to which Guarantor B guaranteed the due payment by Defendant of all

amounts due under the Charter, and the punctual performance by Defendant of all of its obligations

under the Charter, under the terms and conditions set forth therein. A true and complete copy of

the Guaranty B is attached as Exhibit F hereto.




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       11.     On May 31, 2020, Plaintiff sent an email to Defendant (the “May 31, 2020 Email”),

by which Plaintiff accepted Defendant’s application to change the charter hire payment method

“from monthly in advance to monthly in arrear” for the period from May of 2020 to November of

2020 under the Charter. A true and complete copy of the May 31, 2020 Email is attached as Exhibit

G hereto.

       12.     On December 9, 2020, Plaintiff sent an email to Defendant (the “December 9, 2020

Email”), by which Plaintiff rejected Defendant’s attempts to further defer or reduce Defendant’s

payment obligations under the Charter, and noted that Plaintiff’s acceptance of late or partial

payment of any outstanding charter hire installment plus interest shall not be taken or construed as

a waiver by Plaintiff of its right to receive payment punctually or any other rights under the Charter.

A true and complete copy of the December 9, 2020 Email is attached as Exhibit H hereto.

       13.     On December 10, 2020, Plaintiff sent an email to Defendant (the “December 10,

2020 Email”), by which Plaintiff accepted Defendant’s application to pay the twenty-first

installment of charter hire in arrear, and not in advance. A true and complete copy of the December

10, 2020 Email is attached as Exhibit I hereto.

       14.     On December 11, 2020, Plaintiff sent an email to Defendant (the “December 11,

2020 Email”), confirming the same and attaching (inter alia) an invoice for the twenty-first

installment of charter hire of the Vessel due on December 11, 2020 in the amount of USD

373,419.20. A true and complete copy of the December 11, 2020 Email (account information

redacted) is attached as Exhibit J hereto.

       15.     On December 13, 2020, Plaintiff sent an email to Defendant (the “December 13,

2020 Email”), by which Plaintiff confirmed receipt of USD 111,906.69 in partial payment by

Defendant of the twenty-first installment of charter hire due on December 11, 2020, and Plaintiff




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noted that the balance remained unpaid in a total amount of USD 261,512.51, and that the twenty-

second installment of charter hire due on December 12, 2020 also remained unpaid. A true and

complete copy of the December 13, 2020 Email is attached as Exhibit K hereto.

       16.       On December 28, 2020, Plaintiff sent an email to Defendant (the “December 28,

2020 Email”) by which Plaintiff notified Defendant again that Plaintiff only received a partial

payment for the twenty-first installment of charter hire due on December 11, 2020 under the

Charter, and received no payment for the twenty-second installment of Charter Hire due on

December 12, 2020 under the Charter. A true and complete copy of the December 28, 2020 Email

is attached as Exhibit L hereto.

       17.       On January 5, 2021, Plaintiff sent a termination event notice to Defendant (the

“Termination Event Notice”) to, inter alios, Defendant, by which Plaintiff notified Defendant of

the occurrence of the following “Termination Events” under the Charter:

         Reference                                       Termination Event

       Clause                 The Charterers have failed to make full payment of money due under
       44.1(a)                the Bareboat Charter on or within 5 Business Days of its due date. In
                              particular, the Charterers have failed to make full payment of the 21st
                              and 22nd instalments of the Charterhire, which were due on 11 and 12
                              December 2020 respectively.

       Clause                 Guarantor A has breached and/or omitted to observe and/or perform its
       44.1(b)                undertakings contained in the Guarantee to which it is a party. In par-
                              ticular, Guarantor A has failed to comply with the financial covenants
                              under Clause 11.17(a), (b)(i) and (b)(ii) of the said Guarantee at least
                              for the period between the 4th quarter of 2019 and the 3rd quarter of 2020.

       Clause                 Guarantor A has committed breaches and/or omitted to observe or
       44.1(c)                perform its obligations and/or undertakings under the Guarantee to
       and/or                 which it is a party. In particular, Guarantor A has failed to send to the
       44.1(d)                Owners its audited consolidated annual financial reports for the
                              financial year ended 31 December 2019 in breach of Clause 11.3(a) of
                              the said Guarantee.




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       Clause                 The Financial Indebtedness of a Relevant Person is not paid when due
       44.1(f)(i)             or, if so payable, on demand after any applicable grace period has
                              expired. In particular, the Other Charterer has failed to pay its Financial
                              Indebtedness under the Other Charter as particularised in the
                              Termination Event Notice issued in respect of the Other Charter of even
                              date.

       Clause                 A Relevant Person becomes, in the opinion of the Owners, unable to
       44.1(g)(i)             pay its debts as they fall due. In particular, it is the opinion of the
                              Owners based on, including without limitation, the events and
                              circumstances set out in this Termination Event Notice that the
                              Charterers and/or the Other Charterer and/or Guarantor A have become
                              unable to pay their debts as they fall due.

       Clause                 The value of a Relevant Person’s assets is less than its liabilities (taking
       44.1(g)(ii)            into account contingent and prospective liabilities). In particular, based
                              on, including without limitation, the unaudited condensed interim
                              financial statements of Guarantor A for the three and nine month period
                              ended 30 September 2020, the value of Guarantor A’s assets is less than
                              its liabilities.

       Clause                 An event or circumstance occurs which has or is reasonably likely to
       44.1(j)                have a Material Adverse Effect. In particular (but without limitation),
                              in the reasonable opinion of the Owners, the events and circumstances
                              set out in this Termination Event Notice have or are reasonably likely
                              to have a Material Adverse Effect.

       Clause                 A Termination Event (as defined in the Other Charter) has occurred
       44.1(p)                under the Other Charter, including but not limited to those
                              particularised in the Termination Event Notice issued in respect of the
                              Other Charter of even date.

A true and complete copy of the Termination Event Notice is attached as Exhibit M hereto.

Defendant neither paid the “Termination Purchase Price” (as defined in the Charter), nor informed

Plaintiff within ten (10) business days after receipt of the Termination Notice of its intent to do so,

as provided in clause 44.2 of the Charter.

       18.       On January 13, 2021, Plaintiff sent a demand to Guarantor A (the “Demand to

Guarantor A”), by which Plaintiff demanded the immediate payment by Guarantor A of the

amounts due under the Charter. A true and complete copy of the Demand to Guarantor A (account

information redacted) is attached as Exhibit N hereto.




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           19.   Also on January 13, 2021, Plaintiff sent a demand to Guarantor B (the “Demand

to Guarantor B”), by which Plaintiff demanded the immediate payment by Guarantor B of the

amounts due under the Charter. A true and complete copy of the Demand to Guarantor B (account

information redacted) is attached as Exhibit O hereto.

           20.   On January 26, 2021, Plaintiff sent a notice of termination to, inter alios, Defendant

(the “Termination Notice”), by which Plaintiff exercised its right to terminate the Charter

pursuant to, inter alia, clause 44.3 thereof, and Plaintiff requested that Defendant immediately

redeliver the Vessel. A true and complete copy of the Termination Notice is attached as Exhibit P

hereto.

           21.   Despite the Termination Notice, Defendant has failed to redeliver the Vessel to

Plaintiff.

    III.         CLAIM TO TAKE POSSESSION OF THE VESSEL UNDER RULE D

           22.   Plaintiff repeats and re-alleges by reference the allegations contained in paragraphs

1–21 as if specifically set forth herein.

           23.   Plaintiff is the true and lawful owner and titleholder of the Vessel. Although

Plaintiff has rightfully terminated the Charter with Defendant and demanded redelivery of the

Vessel, Defendant now refuses to redeliver the Vessel to Plaintiff.

           24.   Plaintiff is wrongfully deprived of possession of the Vessel.

           25.   Plaintiff therefore makes this claim under Rule D for a warrant of arrest authorizing

Plaintiff to immediately take possession of the Vessel, and for a final judgment granting possession

of the Vessel and awarding damages to Plaintiff, plus prejudgment interest, post-judgment interest,

costs, attorneys’ fees, custodia legis expenses, and disbursements for this case.

           26.   Plaintiff has performed all duties, obligations and conditions precedent on its part

to be performed.


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                   IV.         CLAIM FOR BREACH OF THE CHARTER

        27.     Plaintiff repeats and re-alleges by reference the allegations contained in paragraphs

1–21 as if specifically set forth herein.

        28.     Defendant has committed multiple breaches of the Charter, including, without

limitation, failure to make payment in full of the charter hire installments due on December 11 and

12, 2020 under the Charter, and failure to pay the Termination Purchase Price and to redeliver the

Vessel to Owner upon request as required under the Charter.

        29.     As a result of Defendant’s breaches, Plaintiff has incurred damages for loss of use

of the Vessel and in the amount of the unpaid charter hire and other sums due under the Charter.

        30.     Plaintiff therefore makes this claim for breach of a maritime contract, without

prejudice to Plaintiff’s right to seek arbitration of the underlying dispute in Hong Kong pursuant

to clause 30 of the Charter.

        31.     Plaintiff has performed all duties, obligations and conditions precedent on its part

to be performed.

                                        V.       PRAYER

        WHEREFORE, Plaintiff prays:

        A.      That process and due form of law according to the practices of this Honorable Court

in causes of admiralty and maritime jurisdiction be issued against the Vessel and Defendant;

        B.      That an order and warrant of arrest under Rule D be issued against the Vessel;

        C.      That after due proceedings, judgment be entered in favor of Plaintiff and against

Defendant granting possession of the Vessel to Plaintiff and awarding damages to Plaintiff from

Defendant in an amount to be proven in these proceedings, plus prejudgment interest, post-

judgment interest, costs, attorneys' fees, custodia legis expenses, and disbursements for this case;




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       D.      That this Honorable Court grant Plaintiff such other and further relief as may be

just and proper.

Dated: January 26, 2021                             Respectfully submitted,

                                                     /s/ J. James Cooper
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